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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Criminal Case No. 22-cr-00012-WJM

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 1. LAWRENCE RUDOLPH, and
 2. LORI MILLIRON,

        Defendants.


 JOINT MOTION TO AMEND THE FINAL ORDER OF FORFEITURE TO ALLOW FOR
            THE INTERLOCUTORY SALE OF REAL PROPERTIES


        COMES NOW the United States of America (the "United States"), by and through

 Acting United States Attorney Matthew T. Kirsch and Assistant United States Attorney

 Kurt J. Bohn, Lawrence Rudolph (Defendant), Julian Rudolph individually as Petitioner

 in criminal matter 22-cr-00012-WJM, as Trustee for the Rudolph Trust, as Executor of

 the Estate of Bianca Rudolph, and individually and as Trustee of the Credit Bypass

 Trust Under the Rudolph Trust Dated April 25, 2016, in civil action No. CV2023-006718

 in the Superior Court of the State of Arizona, Maricopa County, Arizona; and AnaBianca

 Rudolph individually as Petitioner in criminal matter 22-cr-00012-WJM, and individually

 in civil action No. CV2023-006718 in the Superior Court of the State of Arizona,

 Maricopa County, Arizona, and respectfully moves the Court to amend the Final Order

 of Forfeiture (Doc. # 470) ordering the interlocutory sale of the real properties identified

 in the Court’s Judgment (Docket # 415, p. 8) in accordance with Fed. R. Crim. P.

 32.2(b)(7). In support of this Motion, the United States, on behalf of the interested

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 parties, sets forth the following:

                                 FACTUAL BACKGROUND

         1.    As set forth in the Superseding Indictment (Docket # 53) the Forfeiture

 Allegation stated that upon conviction of the violation alleged in Count 2, the Defendant

 shall forfeit to the United States all property constituting and derived from any proceeds

 the Defendant obtained directly and indirectly as a result of the commission of the

 offense, and any and all rights, title, and interest in all property involved in such offense,

 pursuant to 18 U.S.C. §§ 981(a)(1)(C) and 28 U.S.C. § 2461(c). (Docket # 53, p. 8).

         2.    The property sought to be forfeited was identified in the United States’

 First Bill of Particulars for Forfeiture of Property. (Docket # 108). Specifically, the

 United States sought forfeiture of the following assets:

         a) Real Property located at 7000 N. 39th Place, Paradise Valley, Arizona;

         b) Real Property located at 103 Morningside Drive, Cranberry

         Township, Pennsylvania;

         c) 2018 Aston Martin DB-11, VIN SCFRMFAV5JGL03309; and

         d) 2017 Bentley Bentayga, VIN SJAAC2ZV2HC014709.

 (Id. at 2).

         3.    The property located at 7000 N. 39th Place, Paradise Valley, Arizona, is

 more fully described as Lot Number: 11 Subdivision Name: LINCOLN 40

 Sec/Twn/Rng/Mer: SEC 12 TWN 2N RNG 3E Brief Description: LINCOLN 40 MCR 905-

 32 Recorder's Map Ref: MB 90532.

         4.    The property located at 7000 N. 39th Place, Paradise Valley, Arizona, is

 owned by Lawrence P. Rudolph, as Trustee of the Lawrence P. Rudolph Survivor’s



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 Trust created under the Rudolph Trust dated April 25, 2016. Currently Julian Rudolph

 has power of attorney over the Rudolph Trust.

        5.    The United States recorded its’ Notice of Lis Pendens against the property

 located at 7000 N. 39th Place, Paradise Valley, Arizona, on December 21, 2021, with

 the Maricopa County Recorder, Maricopa County, Arizona.

        6.    The property located at 7000 N. 39th Place, Paradise Valley, Arizona, is

 encumbered by a mortgage, which is serviced by Bank New York Mellon. The

 mortgage has not been paid since June 2023.

        7.    The property located at 103 Morningside Drive, Cranberry Township,

 Pennsylvania, is more fully described as Lot Number: 101 District: 130 City,

 Municipality, Township: CRANBERRY TWP Brief Description: 0.470 AC - LOT 101

 HSE.

        8.    The property located at 103 Morningside Drive, Cranberry Township,

 Pennsylvania, is owned by Three River Dental Management, LLC. The sole member of

 the limited liability company is the Lawrence P. Rudolph Survivors Trust created under

 the Rudolph Trust Dated April 25, 2016. Currently Julian Rudolph has power of

 attorney over the Rudolph Trust.

        9.    The United States recorded its’ Praecipe to Writ of Summons Indexed Lis

 Pendens against the property located at 103 Morningside Drive, Cranberry Township,

 Pennsylvania, on February 25, 2022, with the Prothonotary of Butler County,

 Pennsylvania.

        10.   The property located at 103 Morningside Drive, Cranberry Township,

 Pennsylvania is encumbered by a mortgage, which is serviced by The Farmers National



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 Bank of Emlenton. The mortgage has not been paid since June 2023.

        11.    The two vehicles in this case, the 2018 Aston Martin DB-11, VIN

 SCFRMFAV5JGL03309 and the 2017 Bentley Bentayga, VIN SJAAC2ZV2HC014709

 have already been sold and the proceeds deposited in the United States Marshal

 Service account.

        12.    On June 16, 2023, Julian and AnaBianca Rudolph submitted a Verified

 Petition for an ancillary hearing to adjudicate their interests in the property preliminarily

 ordered forfeited in the Preliminary Order of Forfeiture under 21 U.S.C. § 853(n)(2).

 (Docket # 367). The Verified Petition was dismissed by this Court on April 12, 2021.

 (Docket # 467). A Notice of Appeal of that order was filed by the Petitioners on April 26,

 2024. (Docket # 471).

        13.    Attempts by the United States Marshal Service to sell the two real estate

 properties have been unsuccessful as they have not been able to obtain title insurance

 because of the pending appeal. Therefore, it is necessary to have an Order from this

 Court approving the interlocutory sale of the property to be able to obtain the necessary

 title insurance.

        14.    Even though Julian and AnaBianca Rudolph, in their individual capacities -

 do not have legal standing to consent to the sale of the real properties, they have been

 consulted through counsel and join in the request to sell the property to preserve the

 value of the assets.

        15.    Defendant Lawrence Rudolph has indicated that he also does not oppose

 the sale of the two real properties. (Doc. # 481).




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                                        ANALYSIS

 1. Legal Support for Amendment of Final Order of Forfeiture

        The United States incorporates the legal authority of the Court to enter an order

 amending the Final Order of Forfeiture as addressed by the United States in its

 response to the Court’s question. (Doc. # 480). As the amendment to the Final Order

 of Forfeiture is unrelated to the substance of the Court’s decision regarding imposition

 of forfeiture, amending the order is both appropriate and necessary. Thus, the Court

 has properly found that it has the legal authority pursuant to Fed. R. Crim. Proc.

 32.2(b)(7) to consider a motion seeking to amend the enter an order amending the

 entered in this case. (Doc. # 482). This Court can amend the order to preserve assets

 necessary to effectuate the Court’s intent in the Final Order of Forfeiture. (Doc. # 470).

 2. Factual Support for Amendment of Final Order of Forfeiture

        The need to preserve assets that would be used to satisfy the Court’s Order of

 Forfeiture is real and significant. The two real properties have been unoccupied for over

 two years and payments toward the mortgages, taxes, and insurance have been

 stopped.

        The property located at 103 Morningside Drive, Cranberry Township,

 Pennsylvania, has seen the following costs/expenses increase:

        October 2023                                            August 2024
        $1,375,617.56        Unpaid Principal                   $1,389,812.44
        $6,209.39            Interest                           $59,076.16
                             (accruing per diem $125.47)
        $252.41              Late Charges                       $1,009.64
        $60.75               Mortgage Satisfaction              $60.75
        -0-                  Forced Placed Insurance            $9,070.00
        $10,000.00           Attorney Fees                      $15,881.50
        $1,392,140.11                                           $1,474,910.49



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        The additional costs/expenses have resulted in a loss of $82,770.38. This does

 not include delinquent taxes and other fees associated with the property.

        The property located at 7000 N. 39th Place, Paradise Valley, Arizona, has seen

 the following costs/expenses increase:

        September 2023                                              September 2024
        $2,493,904.01         Unpaid Principal                      $2,493,904.01
        $23,988.17            Interest                              $96,892.18
                              (accruing per diem $187.90)
        $857.28               Late Charges                          $4,286.40
        $30.00                Recording fees                        $30.00
        $27,000.00            Forced Placed Insurance               $54,513.00
                              Property Inspection Fee               $350.00
        $60,000.00            Attorney Fees                         $60,000.00
        $2,605,779.46                                               $2,709,975.59

        The additional costs/expenses have resulted in a loss of $104,196.13. This does

 not include delinquent taxes and other fees associated with the property.

        It is in the best interest of all parties to sell the two real estate assets in this

 matter at this time rather than waiting for resolution of the appeals. Here, the mortgage

 lienholders on the two parcels of real estate have suffered a loss as a result of the

 Defendant’s failure to pay the monthly amounts due under the mortgages, taxes, and

 insurance on the properties.

        The interlocutory sale of the two parcels of real estate will allow both of the

 mortgage companies to recoup their losses at this time rather than at some time after

 resolution of any appeal.

        The sale of these two assets at this time is also in the best interest of Defendant

 Rudolph and Julian and AnaBianca Rudolph. The two parcels of real estate are

 unoccupied and will begin to deteriorate. Liquidating the assets at this time will

 preserve their value and make for any later distribution of funds more convenient and

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 accurate for all parties involved. An interlocutory sale of these assets will serve those

 purposes. If Defendant Rudolph and/or Julian and AnaBianca Rudolph were to prevail

 on their appeal, the United States would provide the funds to them, thereby making

 them whole.

        Therefore, the United States requests an Order for the interlocutory sale of the

 two properties under the following terms:

        a)      That the property located at 7000 N. 39th Place, Paradise Valley, Arizona;

 and 103 Morningside Drive, Cranberry Township, Pennsylvania; should be sold through

 the normal process employed by the United States Marshal Service for the sale of the

 forfeited assets. The proceeds from the sale of these assets should be distributed as set

 forth below.

        b)      Upon sale of the two parcels of real estate, from the gross proceeds of

 each sale, and up to the limit thereof, would be paid, in the following order:

                1.     Any costs incurred by the United States in the management and

        sale of the properties, including commissions, disposition fees, escrow expenses

        and any expenses customarily paid by the seller;

                2.    Any outstanding taxes against or secured by the real property;

                3.    The outstanding mortgages or liens against or secured by each

        property in the order of priority prior to the recording of the government’s lis

        pendens, excepting only the United States lien for restitution and any liens

        related to the Default Judgment (defined below) entered in CV2023-006718, in

        and for the County of Maricopa, Arizona;




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                4.    Pursuant to the Final Order of Forfeiture entered by this Court, the

        following percentages from the proceeds from the sale of the properties minus

        the expenses and payments described above (1-3) are subject to forfeiture to the

        United States:

                      A. 58.74% from 7000 N. 39th Place, Paradise Valley, Arizona, and

                      B. 50.55% from 103 Morningside Drive, Cranberry Township,

               Pennsylvania,

        These “forfeiture proceeds” will be held by the United States Marshal Service

 until the related appeals are final.

               5.     As to the real properties located at 7000 N. 39th Place, Paradise

        Valley, Arizona, and 103 Morningside Drive, Cranberry Township, Pennsylvania,

        attorney fees incurred by the mortgage companies in addressing issues that

        arose with the properties being forfeited will be paid from the seller’s portion of

        the net proceeds after the above-identified payments (1-4) as agreed upon in the

        Stipulated Expedited Settlement Agreements and amended by this Motion.

        c)     The remaining net proceeds from the sales (“remainder net proceeds”)

 should be deposited with the United States Marshals Service pending final resolution in

 this matter. “Remainder net proceeds” are defined as all monies remaining after the

 sale, and after all payments (1-5) have been made which are agreed to above. That

 funds due to be paid out under paragraph b, subpart 4 (above) shall be held by the

 United States Marshal Service until final distribution.

        The United States recognizes that on July 20, 2023, AnaBianca Rudolph and

 Julian Rudolph, both individually and in his capacity as Trustee of the Credit Bypass



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 Trust Under the Rudolph Trust Dated April 25, 2016 (the “Credit Bypass Trust”),

 obtained a Default Judgment in Maricopa County Superior Court, Case No. CV2023-

 006718 (the “Default Judgment”), and on July 24, 2023, they recorded the Default

 Judgment. As such, they assert a judgment creditor’s lien against any and all real

 property located in Maricopa County, Arizona and titled in the name of any of the

 judgment debtors – including the property located at 7000 N. 39th Place, Paradise

 Valley, Arizona.

        d)     All claims not satisfied at the closing of the sale of any asset, including any

 judgment lien claims arising from the recorded Default Judgment, are transferred to and

 shall be satisfied, if at all, out of the remainder net proceeds, with all liens attaching

 thereto. Accordingly, the buyers of the assets shall take the property free and clear of

 all encumbrances except for covenants, conditions, restrictions, and easements of

 record.

        e)     That Lawrence P. Rudolph, claimant in civil matter 21-cv-03423-MEH,

 through his counsel, and by and through his power of attorney Julian Rudolph; Julian

 Rudolph individually as Petitioner in criminal matter 22-cr-00012-WJM, as Trustee for

 the Rudolph Trust, as Executor of the Estate of Bianca Rudolph, and individually and

 Trustee of the Credit Bypass Trust Under the Rudolph Trust Dated April 25, 2016, in

 civil action No. CV2023-006718 in the Superior Court of the State of Arizona, Maricopa

 County, Arizona; and AnaBianca Rudolph individually as Petitioner in criminal matter

 22-cr-00012-WJM, and individually in civil action No. CV2023-006718 in the Superior

 Court of the State of Arizona, Maricopa County, Arizona, shall provide any release of

 liens or encumbrances, or any other documentation as required by the title company, on



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any of the subject assets to permit the sale of assets, such that any buyers of the assets

should take the property free and clear of all encumbrances. Such a release does not

alter the rights and interests as to the remainder net proceeds, as a substitute res, to be

held in escrow.

       f)     The United States shall provide any release of lis pendens, liens, or

encumbrances, or any other documentation as required by the title company, on any of

the subject assets to permit the sale of assets, such that any buyers of the assets

should take the property free and clear of all encumbrances. Such a release does not

alter the rights and interests as to the net proceeds, as a substitute res, to be held in

escrow.

       g)     The United States Marshals Service or its designee may, without further

order of the Court, enter either real estate property located at 7000 N. 39th Place,

Paradise Valley, Arizona, or 103 Morningside Drive, Cranberry Township, Pennsylvania,

for the purpose of maintaining the property prior to its sale or preparing the property for

sale, and displaying it to prospective buyers.

       h)     All items of personal property, if any, excluding any landscaping and

fixtures, located in and around real property are not property subject to this forfeiture

action and shall be removed prior to sale by the defendant or his designated agent at

his expense prior to listing the property for sale. If Defendant Rudolph believes there is

personal property in either real estate property, the Defendant or his designated agent

shall contact the United States to arrange a time to remove any personal property. Any

personal property remaining in or at the time of sale shall be treated as abandoned by

the Defendant and will be disposed of according to law.



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       i)     It shall be the responsibility of the Defendant to ensure that tenants, if any,

residing in the property: (1) cooperate with the United States Marshals Service or its

designee during the marketing of the property for sale and the sales process and (2)

have vacated the property by the time of closing pursuant to the tenant’s rights under

any existing and valid lease contract. If the tenants, if any, residing at the property fail to

cooperate with the United States Marshals Service or its designee during the marketing

of the property for sale and/or the sales process, the United States Marshals Service or

its designee may, without further order of the Court, evict without further order of the

Court any such tenants after providing a 30-day notice of eviction and may enlist such

assistance and may use such reasonable force as the United States Marshals Service

deems necessary.

                                       CONCLUSION

       Accordingly, the parties respectfully move this Court to order an interlocutory sale

of the real property identified above according to the terms set forth herein.

       DATED this 23rd day of September 2024.

                                                   Respectfully submitted,

                                                   MATTHEW T. KIRSCH
                                                   Acting United States Attorney


                                              By: s/ Kurt J. Bohn
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Julian (udolph
lndividually as Petitioner Julian Rudolph in Criminal matter 22-cr-00012-WJM
ln his capacity as Trustee of the Rudolph Trust
ln his capacity as the executor of the Estate of Bianca Rudolph
!ndividually as Plaintiff and as Trustee of the Credit Bypass Trust Under the
Rudolph Trust Dated April 25, 2016, in civil action No. CV2023-006718 in the
Superior Court of the State of Arizona, Maricopa County, Arizona




AnaBianca Rudolph
lndividually as Petitioner AnaBianca Rudolph in Criminal matter 22-cr-00012-
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lndividually as Plaintiff in civil action No. CV2023-006718 in the Superior Court of
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                              CERTIFICATE OF SERVICE

       I hereby certify that on this 23rd day of September 2024, I electronically filed the
foregoing with the Clerk of Court using the ECF system, which will send notice to all
parties of record.

                                                 s/ Charisha Cruz_____
                                                 Paralegal Specialist
                                                 U.S. Attorney’s Office




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